






NO. 07-02-0281-CR


NO. 07-02-0282-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL E



OCTOBER 14, 2002



______________________________




ELREED WILSON, JR., APPELLANT



V.



THE STATE OF TEXAS, APPELLEE




_________________________________



FROM THE CRIMINAL JUDICIAL DISTRICT COURT OF JEFFERSON COUNTY;



NOS. 78432 &amp; 82502; HONORABLE LEONARD J. GIBLIN, JR., JUDGE



_______________________________



Before QUINN and REAVIS, JJ. and BOYD, S.J. (1)

ABATEMENT AND REMAND


	Pursuant to a guilty plea for possession of a controlled substance in cause number
78432 and a guilty plea for possession of marihuana in cause number 82502, appellant
Elreed Wilson, Jr. was granted deferred adjudication and placed on community supervision
for five years.  After hearing evidence in support of the State's motion to revoke for alleged
violations of the conditions of community supervision, the trial court adjudicated appellant
guilty in both cases and assessed punishment at four years confinement in cause number
78432 and two years confinement in cause number 82502.  Appellant filed general notices
of appeal.  Both the clerk's record and reporter's record have been filed.  Appellant's brief
was due to be filed on September 16, 2002, but has yet to be filed.  Also, no motion for
extension of time has been filed.  By letters dated September 23, 2002, this Court notified
appellate counsel, Mr. Mike Laird, of the defect and also directed that he explain by
October 3, 2002, why the brief has not been filed.  Mr. Laird did not respond and the brief
remains outstanding.

	Therefore, we now abate the appeal and remand the cause to the trial court for
further proceedings pursuant to Rule 38.8(b)(2) and (3) of the Texas Rules of Appellate
Procedure.  Upon remand, the trial court shall immediately cause notice of a hearing to be
given and, thereafter conduct a hearing to determine the following:

	1.	whether appellant desires to prosecute the appeal; 

	2.	whether appellant is indigent and entitled to appointed counsel;

	3.	whether counsel for appellant has abandoned the appeal; and

	4.  	whether appellant has been denied effective assistance of counsel
given his attorney's failure to file a brief.

The trial court shall cause the hearing to be transcribed.  Should it be determined that
appellant desires to continue the appeal, then the trial court shall also take such measures
as may be necessary to assure appellant effective assistance of counsel, which measures
may include the appointment of new counsel.  If new counsel is appointed, the name,
address, telephone number, and state bar number of said counsel shall be included in the
order appointing new counsel.  Finally, the trial court shall execute findings of fact,
conclusions of law, and such orders as the court may enter regarding the aforementioned
issues, and cause its findings and conclusions to be included in a supplemental clerk's
record.  A supplemental record of the hearing shall also be included in the appellate
record.  Finally, the trial court shall file the supplemental clerk's record and the
supplemental reporter's record with the Clerk of this Court by Monday, December 2, 2002.

	It is so ordered.


	Per Curiam



Do not publish.  

	 
1. John T. Boyd, Chief Justice (Ret.), Seventh Court of Appeals, sitting by
assignment.



font-size: 12pt"&gt;FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL B

FEBRUARY 13, 2009
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;______________________________

RONI LYNN BYARD, APPELLANT

V.

THE STATE OF TEXAS, APPELLEE
_________________________________

FROM THE 33RD DISTRICT COURT OF LLANO COUNTY;

NO. 5860; HONORABLE DAN MILLS, JUDGE
_______________________________


Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant Roni Lynn Byard appeals from her conviction of possession of
methamphetamine and the resulting sentence of seven years’ confinement, probated for
a period of ten years. Through two issues, appellant challenges the sufficiency of the
evidence to support her conviction.  Finding the evidence sufficient, we affirm the judgment
of the trial court.
&nbsp;
Background
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;By an October 2006 indictment, appellant was charged with possession of an
immediate precursor with intent to manufacture methamphetamine,


 manufacture of
methamphetamine,


 and possession of methamphetamine.


  The jury found her not guilty
of Counts I and II but guilty of Count III, possession of methamphetamine. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Evidence at trial showed that Llano, Texas, police went to a mobile home there after
they obtained information leading them to believe that illegal drug activity was occurring. 
The lessee of the single-wide home, who was present, consented to a search of the
residence.  Appellant and her boyfriend had been staying at the home.  Appellant’s young
teenage son also was present.  Appellant and her boyfriend were found asleep in the south
bedroom of the mobile home.  One officer testified that there was a “large amount of
debris, trash, clothing, things like that” in the bedroom where appellant was found.  Officers
also found in the bedroom hot plates, petroleum distillates, coffee pots, packaging material,
small plastic bags with what appeared to be methamphetamine residue, rock salt, pyrex
glassware, pseudoephedrine packages, and a butane burner with a bottle attached. 
Officer testimony noted also the presence of three key indicators of methamphetamine
manufacturing-- match books with the strikers removed, iodine staining and
pseudophedrine packaging.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;During the search of the room, officers also found what they described as two
clandestine methamphetamine labs.  The items officers referred to were located in two
unlocked black bags


 found in the closet in the south bedroom.  The items in the bag
included, among other things, a green glass beer bottle, assorted water bottles, Gatorade
bottles, and acetone.  The black bags belonged to appellant’s boyfriend. Three bottles
contained substances of 0.78 grams, 31.17 grams, and 122.59 grams, respectively, that
tested positive for methamphetamine.


  These substances were the basis of appellant’s
conviction. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant’s boyfriend David Johnson testified for the State.  He testified he and
appellant had been together for several months, that they met in Alabama and that they
had come to Llano in appellant’s car several months before their arrest.  Johnson had
previously lived in Llano.  After arriving there, the two stayed with acquaintances of
Johnson.  Johnson admitted the methamphetamine belonged to him.  He also testified he
and appellant had been cooking and using methamphetamine for several days and
testified appellant helped with the cook.  Johnson indicated he and appellant were
“sleeping off a high” when police found them.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The investigating officers found debris in a trash can located on the front porch of
the home that they identified as residue from a methamphetamine cook.  The items in the
trash included match books with the striker plates removed, a hypodermic syringe, packing
material from at least one case of matches, and coffee filters.  An officer testified “almost
everything has what’s consistent with iodine stains on the material.”  Testimony indicated
that the local trash pick-up occurred once a week, leading officers to conclude the cook
had occurred within the week.  Lastly, officers testified to a strong odor in the home.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant presented her case through the cross-examination of the State’s witnesses
and a witness she called who testified that when appellant and Johnson stayed with her for
about three weeks, she never saw black bags like those found to contain the
methamphetamine.  She also identified appellant’s possessions by viewing a photograph
shown to her by the prosecutor, none of which included black bags.  The witness also
testified that about a week prior to appellant’s arrest, Johnson left the witness’s residence
and took appellant’s car with him. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;As noted, the jury found appellant not guilty of possession of an immediate precursor
with intent to manufacture methamphetamine and manufacture of methamphetamine, but
guilty of possession of methamphetamine in an amount of four grams or more but less than
200 grams.  Her sentence included seven years’ imprisonment, probated for ten years.
Analysis
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;By two issues, appellant challenges: (1) the legal and factual sufficiency of the
evidence to support her conviction for possession of methamphetamine; and (2) the trial
court’s failure to grant her request for a directed verdict.  We will address both issues
together.


  
Applicable Law
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In conducting a legal sufficiency review, we must determine whether, after reviewing
the evidence in the light most favorable to the prosecution, any rational trier of fact could
have found the essential elements of the crime beyond a reasonable doubt.  Jackson v.
Virginia, 443 U.S. 307, 318-19, 99 S.Ct. 2781, 61 L.Ed.2d 560 (1979); Hooper v. State, 214
S.W.3d 9, 13 (Tex.Crim.App. 2007); Fowler v. State, 65 S.W.3d 116, 118
(Tex.App.–Amarillo 2001, no pet.).  If, based on all the evidence, a reasonably minded jury
must necessarily entertain a reasonable doubt of the defendant’s guilt, due process requires
that we reverse and order a judgment of acquittal.  Swearingen, 101 S.W.3d at 95, citing
Narvaiz v. State, 840 S.W.2d 415, 423 (Tex.Crim.App. 1992), cert. denied, 507 U.S. 975,
113 S.Ct. 1422, 122 L.Ed.2d 791 (1993).  Circumstantial evidence is as probative as direct
evidence in establishing the guilt of an actor and the standard of review on appeal is the
same for both direct and circumstantial evidence cases.  Guevara v. State, 152 S.W.3d 45,
49 (Tex.Crim.App. 2004); Kutzner v. State, 994 S.W.2d 180, 184 (Tex.Crim.App. 1999). 
A reviewing court must give deference to “the responsibility of the trier of fact to fairly
resolve conflicts in testimony, to weigh the evidence, and to draw reasonable inferences
from basic facts to ultimate facts.”  Hooper, 214 S.W.3d at 13. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A factual sufficiency review of the evidence is “barely distinguishable” from the legal
sufficiency review under Jackson v. Virginia.  Marshall v. State, 210 S.W.3d 618, 625
(Tex.Crim.App. 2006). A factual sufficiency review considers whether the evidence
supporting guilt, though legally sufficient, is so weak that the jury’s verdict seems clearly
wrong and manifestly unjust, or evidence contrary to the verdict is such that the jury’s
verdict is against the great weight and preponderance of the evidence.  Id.; Watson v. State,
204 S.W.3d 404, 414-15 (Tex.Crim.App. 2006); Johnson v. State, 23 S.W.3d 1, 11
(Tex.Crim.App. 2000).  In a factual sufficiency review, we again consider all the evidence,
but now in a neutral light.  Marshall, 210 S.W.3d at 625; Watson, 204 S.W.3d at 414. 
Although an appellate court’s authority to review factual sufficiency permits the court to
disagree with the fact finder’s determinations, even to a limited degree those concerning the
weight and credibility of the evidence, the appellate court must accord them due deference. 
Marshall, 210 S.W.3d at 625; Johnson, 23 S.W.3d at 9.  We must also discuss the evidence
that, according to the appellant, most undermines the jury's verdict.  Sims v. State, 99
S.W.3d 600, 603 (Tex.Crim.App. 2003). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant was convicted of possession of methamphetamine.  To prove its case, the
State must show appellant exercised care, custody and control over the methamphetamine
and had knowledge that the substance in her possession was contraband.   Tex. Penal
Code Ann. § 1.07(a) (Vernon 2003); Poindexter v. State, 153 S.W.3d 402, 405
(Tex.Crim.App. 2005); Brown v. State, 911 S.W.2d 744, 747 (Tex.Crim.App. 1995);
Lassaint v. State, 79 S.W.3d 736, 739 (Tex.App.–Corpus Christi 2002, no pet.). 
Possession need not be exclusive and evidence which shows that an accused jointly
possessed the contraband with another is sufficient.   Whitworth v. State, 808 S.W.2d 566,
569 (Tex.App.–Austin 1991, pet. ref’d).  When an accused is not in exclusive possession
and control of the place where the contraband was found, it cannot be concluded or
presumed that the accused had knowledge of or control over the contraband unless there
are additional independent facts and circumstances connecting or linking the accused to
the knowing possession of contraband.  Poindexter, 153 S.W.3d at 406; Brown, 911
S.W.2d at 748; Hargrove v. State, 211 S.W.3d 379, 385 (Tex.App.–San Antonio 2006, pet.
ref’d).  In determining the legal sufficiency of evidence in a knowing possession of
contraband case, there must be evidence of circumstances, in addition to mere presence,
to adequately justify the conclusion that the accused knowingly possessed the contraband. 
Evans v. State, 202 S.W.3d 158, 162 n.9 (Tex.Crim.App. 2006); Washington v. State,&nbsp;215
S.W.3d 551, 554-55 (Tex.App.–Texarkana 2007, no pet.).  Presence and proximity when
combined with other evidence, direct or circumstantial, may be sufficient to establish a
knowing possession of contraband.  Evans, 202 S.W.3d at 162.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Statute provides that a conviction cannot be had on the testimony of an accomplice
unless it is corroborated by other evidence tending to connect the defendant with the
offense committed, and the corroboration is not sufficient if it merely shows the commission
of the offense.  Tex. Code Crim. Proc. Ann. § 38.14 (Vernon 2005); Dreury v. State, 225
S.W.3d 491, 498 (Tex.Crim.App. 2007) (before conviction may rest on an accomplice
witness’s testimony, it must be corroborated by “independent evidence tending to connect
the accused with the crime”). 
Application
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;By the time of trial, Johnson had plead guilty to the offense of possession, with intent
to manufacture, of an immediate precursor of methamphetamine.  The jury was instructed
he was an accomplice as a matter of law.  See Tex. Code Crim. Proc. Ann. § 38.14 (Vernon
2005); Kutzner, 994 S.W.2d at 187, citing McFarland v. State, 928 S.W.2d 482, 514
(Tex.Crim.App. 1996) (a person is an accomplice, whose testimony must be corroborated,
as a matter of law if he would be susceptible to prosecution for the offense with which the
accused is charged or a lesser included offense). He had not yet been sentenced when he
testified for the State at appellant’s trial, and said part of his plea agreement required that
he testify truthfully at her trial.  Accordingly, we first consider whether his testimony was
corroborated. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The sufficiency of corroborating evidence is tested by eliminating the accomplice
witness testimony and then examining the remaining evidence to determine the existence
of evidence connecting the defendant with the commission of the offense.  Munoz v. State,
853 S.W.2d 558, 559 (Tex.Crim.App. 1993).  It is not necessary that the remaining evidence
directly link the defendant to the crime or prove all the elements of the charged offense.  Gill
v. State, 873 S.W.2d 45, 48 (Tex.Crim.App. 1994).  To corroborate accomplice-witness
testimony, “all the law requires is that there be some non-accomplice evidence which tends
to connect the accused to the commission of the offense.  While individually these
circumstances might not be sufficient to corroborate the accomplice testimony, taken
together, rational jurors could conclude that this evidence sufficiently tended to connect
appellant to the offense.”  Hernandez v. State,&nbsp;939 S.W.2d 173, 178-79 (Tex.Crim.App.
1997), citing Cox v. State, 830 S.W.2d 609, 612 (Tex.Crim.App. 1992) (emphasis in original);
Cantelon v. State, 85 S.W.3d 457, 460-61 (Tex.App.–Austin 2002, no pet.).  There is no
precise rule as to the amount of evidence that is required, and each case is to be considered
on its own facts and circumstances.  Munoz, 853 S.W.2d at 559.  We must view the
corroborating evidence in the light most favorable to the verdict.  Knox v. State, 934 S.W.2d
678, 686-87 (Tex.Crim.App. 1996); Gill, 873 S.W.2d at 48. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Johnson testified that appellant’s role in the manufacturing process was to scrape the
match book covers.  The State’s brief argues Johnson’s testimony is corroborated by the
presence of scraped match book covers in the trash.  But that evidence merely corroborates
the commission of the offense, not appellant’s involvement.  Appellant argues that without
Johnson’s testimony the evidence shows only her presence.  While an accused person’s
mere presence in the company of the accomplice before, during, and after the commission
of the offense is insufficient by itself to corroborate accomplice testimony, evidence of such
presence, coupled with other suspicious circumstances, may tend to connect the accused
to the offense.  Dowthitt v. State, 931S.W.2d 244, 249 (Tex.Crim.App. 1996), citing Gill, 873
S.W.2d at 49.  Here, the non-accomplice evidence


 includes an officer’s testimony that
appellant “co-habitated” with Johnson,


 and testimony that appellant’s vehicle was parked
at the mobile home during the month before their arrest.  The jury also could have inferred
from police testimony that clothing folded in the laundry baskets found in the mobile home
belonged to appellant.  Although there was testimony that other females sometimes stayed
in the mobile home, nothing indicates any other female was then staying there.  Appellant’s
purse was lying on top of the baskets, which contained both male and female clothing.    
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Additionally, the odor associated with methamphetamine manufacturing was
described at trial as “strong.”  Testimony indicated the odor emanated from the trash can by
the home’s front porch but was present inside the home as well.  One officer testified it was
“an immediately strong odor” even after the house had been ventilated and the front doors
opened.  The same officer said the odor was strong in the bedroom from which appellant
walked, and indicated a person could not be in that room without smelling it.  The odor was
described as “kind of acidic with a strong acid metallic smell.”           
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The requirement that accomplice-witness testimony be corroborated does not present
a high threshold.  McAfee v. State, 204 S.W.3d 868, 878-79 (Tex.App.–Corpus Christi 2006,
pet. ref’d); Cantelon, 85 S.W.3d at 461.  Even insignificant circumstances may satisfy the
test.  Id., Reed v. State, 744 S.W.2d 112, 126 (Tex.Crim.App. 1988).  We find the evidence
that appellant had been present with the accomplice in the mobile home during an extended
period of time, coupled with the evidence of the strong odor associated with
methamphetamine manufacture, tends to connect appellant with the offense of possession
of methamphetamine.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Because we find Johnson’s testimony was corroborated, we now consider his
testimony in determining the sufficiency of the evidence to support appellant’s conviction for
possession of methamphetamine.  Taking all of the evidence together and considering
Johnson’s testimony that appellant participated in the “cook” and used methamphetamine
while at the residence, we find legally sufficient evidence from which a jury could reasonably
infer appellant controlled, and thus knowingly possessed, the methamphetamine for which
she was charged.  See Stubblefield v. State, 79 S.W.3d 171, 177 (Tex.App.–Texarkana
2002, pet. ref’d) (Grant, J. concurring in part and dissenting in part).  Viewing the evidence
in the proper light, we find a rational trier of fact could have found the essential elements of
possession of methamphetamine beyond a reasonable doubt.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Turning to appellant’s factual sufficiency challenge, appellant is correct that, outside
Johnson’s testimony, little evidence beyond the corroborating evidence we have noted
connects her with the methamphetamine.  Nothing indicates that appellant had drugs on her
person or residue on her clothes, or that she appeared to be under the influence of
methamphetamine at the time of her arrest.  Many of the items associated with
methamphetamine manufacture were found in the trash or in locations in the mobile home
other than the bedroom in which she was sleeping.  The black bags were in the closet, one
of them under a blanket.  One officer answered negatively to the prosecutor’s question 
whether a photograph of the room where appellant was found sleeping depicted anything
that may be associated with a methamphetamine lab.


  But the jury was free to believe
Johnson’s testimony that the methamphetamine was his and appellant helped with its
manufacture.  We do not find the evidence to be so weak that the jury’s verdict seems clearly
wrong and manifestly unjust, or that the evidence contrary to the verdict is such that the
jury’s verdict is against the great weight and preponderance of the evidence.  We overrule
appellant’s issues and affirm the judgment of the trial court.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;James T. Campbell

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice

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Do not publish.


